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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------X
UNITED STATES OF AMERICA,
                                             Plaintiff,                        MEMORANDUM

                 -against-                                                     19 Cr. 916 (NSR)


YOSEF ZIEGLER,

                                             Defendant.
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TO: Nelson S. Román, United States District Judge:

        Please find attached a transcript of the December 8, 2020 plea allocution over which I
presided, setting forth my Report and Recommendation to you. Please let me know if I can be of
further assistance.

Dated: January 25, 2021
       White Plains, New York


                                                                 Respectfully Submitted,

                                                                        ________________________
                                                                 ___________________________________
                                                                 JUDITHH C.
                                                                          C McCARTHY
                                                                 United States Magistrate Judge
